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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


Megan McCambridge                                   CASE NUMBER 1:18-cv-07645
Plaintiff

v.
                                                    JUDGE: SHARON JOHNSON COLEMAN
Atlantic Credit and Finance, Inc. a Virginia
Corporation
Defendant

                     JOINT NOTICE OF SETTLEMENT
        BETWEEN PLAINTIFF AND ATLANTIC CREDIT AND FINANCE, INC.

       Plaintiff, Megan McCambridge, by counsel, and Defendant, Atlantic Credit and Finance,

Inc. (“Atlantic”), by counsel, hereby inform this Court that Plaintiff and Atlantic have reached a

settlement as to all matters raised by Plaintiff against Atlantic in this action. Plaintiff and

Atlantic request this case be dismissed without prejudice for 45 days and convert dismissal to

prejudice thereafter.

                                                     Respectfully submitted,

Date: January 9, 2019                                /s/ Penelope Naomi Bach
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                                                     Counsel for Plaintiff

Date: January 9, 2019                                /s/ Nicholas D, O’Connor
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been filed electronically on the 9th
Day of January 2019. Notice of this filing will be sent to the following parties by operation of
the Court’s electronic filing system. Parties may access this filing through the Court’s electronic
filing.

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